                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-1157                                                    September Term, 2024
                                                                             EPA-88FR36654
                                                           Filed On: April 14, 2025
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

                  Petitioner

         v.

Environmental Protection Agency and Lee M.
Zeldin, Administrator, U.S. EPA,

                  Respondents

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City Utilities of Springfield, Missouri, et al.,
                  Intervenors
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Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193, 23-1195,
23-1199, 23-1200, 23-1201, 23-1202,
23-1203, 23-1205, 23-1206, 23-1207,
23-1208, 23-1209, 23-1211, 23-1306,
23-1307, 23-1314, 23-1315, 23-1316,
23-1317
                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-1157                                                     September Term, 2024


No. 24-1172
                                                                         EPA-89FR23526
United States Steel Corporation,

                  Petitioner

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, United
States Environmental Protection Agency,

                  Respondents

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Air Alliance Houston, et al.,
                  Intervenors
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Consolidated with 24-1176


No. 25-1054
                                                                         EPA-89FR99105
Kinder Morgan, Inc., et al.,

                  Petitioners

         v.

Environmental Protection Agency and Lee M.
Zeldin, Administrator, U.S. EPA,

                  Respondents

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Consolidated with 25-1055, 25-1057

                                               Page 2
                    United States Court of Appeals
                                FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                         ____________
No. 23-1157                                                    September Term, 2024


       BEFORE:          Wilkins, Rao, and Walker, Circuit Judges

                                            ORDER

       Upon consideration of respondents’ motion for remand in No. 23-1157, et al., the
responses thereto, and the reply; respondents’ renewed motion in No. 24-1172, et al. to
hold consolidated cases in abeyance; respondents’ motion in No. 25-1054, et al. for
consolidation with No. 23-1157, et al., the oppositions thereto, and the reply; and
movant-intervenors’ motion to dismiss No. 25-1054, et al. for lack of jurisdiction, the
opposition thereto, and the reply, it is

        ORDERED that the motion to consolidate No. 25-1054, et al. with No. 23-1157,
et al. be granted. It is

     FURTHER ORDERED that these cases be removed from the April 25, 2025 oral
argument calendar and held in abeyance pending further order of the court.1 It is

        FURTHER ORDERED that consideration of the motion to dismiss No. 25-1054,
et al. for lack of jurisdiction be deferred pending further order of the court.

       The parties are directed to file status reports at 90-day intervals beginning
July 14, 2025.

       The parties are further directed to file motions to govern further proceedings
within 30 days of the agency’s completion of its review of the rule challenged in No. 23-
1157, et al.

       The panel will retain jurisdiction over the related appeals until further notice.


                                           Per Curiam

                                                            FOR THE COURT:
                                                            Clifton B. Cislak, Clerk

                                                     BY:    /s/
                                                            Scott H. Atchue
                                                            Deputy Clerk


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           The reasons for this order will be issued at a later date.

                                              Page 3
